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    Attorneys for Reason Foundation
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  8                           UNITED STATES DISTRICT COURT
  9               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 10
 11 PAUL SNITKO, JENNIFER SNITKO,                   CASE NO. 2:21-CV-04405-RGK-MAR
    JOSEPH RUIZ, TYLER GOTHIER, JENI
 12 VERDON-PEARSONS, MICHAEL                        BRIEF OF AMICUS CURIE REASON
    STORC, AND TRAVIS MAY,                          FOUNDATION IN SUPPORT OF
 13                                                 PLAINTIFFS’ REQUEST NOT TO
                  Plaintiffs,                       SEAL RECORDS; DECLARATIONS
 14
            vs.
 15
    UNITED STATES OF AMERICA,
 16 TRACY L. WILKISON, in her official
    capacity as Acting United States Attorney
 17 for the Central District of California, and
    KIRISTI KOONS JOHNSON, in her
 18 official capacity as an Assistant Director of
    the Federal Bureau of Investigation,
 19
                  Defendants.
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      BRIEF OF AMICUS CURIE REASON FOUNDATION ISO PLAINTIFFS’ REQUEST NOT TO SEAL RECORDS
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  1               Reason Foundation (Reason), publisher of Reason Magazine, hereby files this brief
  2 as amicus curie in support of Plaintiffs’ position [Dock. No. 113] that the deposition
  3 transcripts in this matter should not be kept secret during this proceeding by excluding
  4 them from the public docket.
  5                                                    I.
  6                                           INTRODUCTION
  7               The government’s raid of U.S. Private Vaults and its aftermath have received
  8 enormous public attention. Indeed, a Google News search for “US Private Vaults Raid”
  9 reveals almost 1200 individual news sources covering the raid. [Declaration of Benjamin
 10 N. Gluck at ¶ 2.] These include multiple articles by news sources including the Los
 11 Angeles Times, the Wall Street Journal, Forbes, Esquire Magazine, KFI Radio, and,
 12 significant to this amicus brief, Reason Magazine. [Id.]
 13               Reason Magazine is a leading libertarian news source that has published nine
 14 articles on the subject and attracted almost a million views of all of its coverage.
 15 [Declaration of Mike Alissi at ¶ 4.] It has been a critical source of public information and
 16 discussion about the raid.
 17               Plaintiffs in this matter have deposed several government witnesses who were
 18 involved in planning and executing the ill-conceived raid. Reason, and the public, have a
 19 strong First Amendment interest in learning how the raid came about. Despite this public
 20 interest, the government seeks to keep these transcripts from the public docket while the
 21 Court decides this matter except for the short excerpts cited in plaintiffs’ brief. [Dock. No.
 22 116.] This position is wrong. Reason therefore files this amicus to make the Court aware
 23 of the tremendous public interest in the complete contents of these depositions. Though
 24 they may be embarrassing to the government, that is not a valid reason to keep them sealed
 25 from Reason, other news media, and ultimately the public.1 Because the Court is currently
 26 deciding this matter on the papers, the public interest in these documents is at its apogee.
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      1
 28       Reason does not seek the unsealing of any individual identifying information about box

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      BRIEF OF AMICUS CURIE REASON FOUNDATION ISO PLAINTIFFS’ REQUEST NOT TO SEAL RECORDS
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  1                                                   II.
  2                                        AMICUS’S INTEREST
  3               Founded in 1968, Reason Magazine is the nation’s leading libertarian magazine. It
  4 produces and disseminates hard-hitting independent journalism on civil liberties, politics,
  5 technology, policy, culture, and economics. Reason distributes an average of
  6 approximately 50,000 copies of its magazine, which is published 11 times per year. It also
  7 operates a website, www.reason.com, which receives an average of approximately 4
  8 million visits per month. [Alissi Decl. at ¶ 2.]
  9               Reason Magazine produces original videos that draw an average of approximately 4
 10 million views a month, as well as podcasts, live events, and more. Its staffers regularly
 11 appear on leading cable news and radio programs and our work is widely cited in the
 12 media. Its offices are located in Los Angeles and Washington, D.C. [Id. at ¶ 3.]
 13               Reason Magazine has published ten articles about the Government’s search and
 14 seizure at U.S. Private Vaults. These articles attracted over 630,000 page views at
 15 www.reason.com. Reason Magazine’s posts about the U.S. Private Vaults matter on
 16 Twitter, Facebook, and Instagram reached hundreds of thousands of additional people. [Id.
 17 At ¶ 4.]
 18               Reason Magazine intends to continue reporting on the Government’s seizure of
 19 property from customers of U.S. Private Vaults and asserts a First Amendment right to
 20 review and inform the public about the content of the warrant material, including without
 21 limitation, (a) the scope and strength of any evidence that the Government relied on to do
 22 what it did here, (b) whether the Government was forthright with the Magistrate about its
 23 intentions with respect to the customers’ property, and (c) whether the Government
 24 complied with any representations it made to the Magistrate about what it would or would
 25 not do with respect to customers’ property. [Id. at ¶ 5.]
 26
 27 holders or what they possessed at U.S. Private Vaults. Reason understands that the
 28 deposition transcripts contain no such information.

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      BRIEF OF AMICUS CURIE REASON FOUNDATION ISO PLAINTIFFS’ REQUEST NOT TO SEAL RECORDS
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  1               Media entities are frequently permitted to intervene or file as amici in order to
  2 vindicate First Amendment rights by seeking to unseal transcripts or proceedings. See,
  3 e.g., United States v. Kott, 380 F. Supp. 2d 1122, 1123 (C.D. Cal. 2004) (intervention);
  4 Perry v. Schwarzenegger, No. 09-CV-02292-WHO, 2020 WL 12632014, at *1 (N.D. Cal.
  5 July 9, 2020) (amicus).
  6                                                     III.
  7   THE DEPOSITION TRANSCRIPTS SHOULD NOT BE WITHHELD FROM THE
  8                                PUBLIC DURING THIS PROCEEDING
  9               As noted earlier, the government’s raid on U.S. Private Vaults has received
 10 enormous media attention over the sixteen months that have elapsed since the initial raid.
 11 Indeed, much of that attention has been critical of the government, including a number of
 12 editorial boards that explicitly condemned the government’s actions.2 Indeed, the instant
 13 lawsuit has received heavy coverage in the Los Angeles Times, the region’s largest local
 14 newspaper.3
 15               The public has a strong interest in learning the truth about the government’s actions
 16 here. As Justice Brandeis said, “Sunlight is said to be the best of disinfectants.” See
 17
 18   2
        See, e.g., FBI Uses Lax Laws To Seize People’s Cash, Orange County Register, Sep.
    21, 2021, available at https://www.ocregister.com/2021/09/21/fbi-uses-lax-laws-to-seize-
 19 peoples-cash/; More Civil Forfeiture Abuse, Las Vegas Review-Journal, Aug. 6, 2021,
 20 available at https://www.reviewjournal.com/opinion/editorials/editorial-more-civil-
    forfeiture-abuses-2415191/; Guilty Until Proven Innocent, Wall Street Journal, July 7,
 21 2021, https://www.wsj.com/articles/guilty-until-proven-innocent-11625697428.
 22   3
          See FBI Says Fortune Seized In Beverly Hills Raid Was Criminals’ Loot. Owners Say:
 23   Where’s The Proof, Sep. 19, 2021, Los Angeles Times, available at
      https://www.latimes.com/california/story/2021-09-19/fbi-seizure-cash-beverly-hills-vault-
 24   spawns-epic-court-battle; Judge Blocks FBI From Keeping Cash, Gold And Silver Seized
      In Beverly Hills Raid, Los Angeles Times, June 23, 2021, available at
 25
      https://www.latimes.com/california/story/2021-06-23/fbi-beverly-hills-raid-court-blocks-
 26   confiscation; FBI Wants To Keep Fortune In Cash, Gold, Jewels From Beverly Hills Raid.
      Is It Abuse Of Power?, Los Angeles Times, June 9, 2021, available at
 27   https://www.latimes.com/california/story/2021-06-09/fbi-beverly-hills-safe-deposit-boxes-
 28   forfeiture-cash-jewelry.

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      BRIEF OF AMICUS CURIE REASON FOUNDATION ISO PLAINTIFFS’ REQUEST NOT TO SEAL RECORDS
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  1 Buckley v. Valeo, 424 U.S. 1, 67 (1976) (quoting L. Brandeis, Other People’s Money 62
  2 (1933)). It cannot be gainsaid that there is significant public interest in how the
  3 government planned and executed the search at U.S. Private Vault, including questions of
  4 policy and whether the government was honest with the courts and the with the victims of
  5 its actions.
  6               Federal Rule of Civil Procedure 26(c)(1) permits protective orders only for “good
  7 cause.” Similarly, the Protective Order in this case expressly prohibits “[m]ass,
  8 indiscriminate, or routinized designations” of material as confidential. [Dock. No. 92 at
  9 4:21.] The government’s assertion that the deposition transcripts in this case should be
 10 kept off the public docket while the Court decides this matter is supported by no
 11 suggestion of good cause and is expressly prohibited by the Protective Order.
 12               Reason respectfully urges the Court to permit the public filing of the deposition
 13 transcripts and reject any effort to hide them from the media or the public.
 14
 15 DATED: July 27, 2022                          Benjamin N. Gluck
                                                  Bird, Marella, Boxer, Wolpert, Nessim,
 16                                               Drooks, Lincenberg & Rhow, P.C.
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 18
                                                  By:         /s/ Benjamin N. Gluck
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                                                                    Benjamin N. Gluck
 20                                                     Attorneys for Reason Foundation
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      BRIEF OF AMICUS CURIE REASON FOUNDATION ISO PLAINTIFFS’ REQUEST NOT TO SEAL RECORDS
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                                 #:4380



  1                            DECLARATION OF BENJAMIN N. GLUCK
  2               I, Benjamin N. Gluck, declare as follows:
  3               1.    I am an active member of the Bar of the State of California and a Principal
  4 with Bird, Marella, Boxer, Wolpert, Nessim, Drooks, Lincenberg & Rhow, A Professional
  5 Corporation, attorneys of record for Reason Foundation in this action. I make this
  6 declaration in support of Brief Of Amicus Curie Reason Foundation In Support Of
  7 Plaintiffs’ Request Not To Seal Records. Except for those matters stated on information
  8 and belief, I make this declaration based upon personal knowledge and, if called upon to
  9 do so, I could and would so testify.
 10               2.    On July 26, 2022, I ran a search on Google News for “US Private Vaults
 11 Raid.” This resulted in almost 1200 individual news sources covering the raid. These
 12 include multiple articles by news sources including the Los Angeles Times, the Wall Street
 13 Journal, Forbes, Esquire Magazine, KFI Radio, and, significant to this amicus brief,
 14 Reason Magazine.
 15               I declare under penalty of perjury under the laws of the United States of America
 16 that the foregoing is true and correct, and that I executed this declaration on July 27, 2022,
 17 at Los Angeles, California.
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                                                        Benjamin N. Gluck
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      BRIEF OF AMICUS CURIE REASON FOUNDATION ISO PLAINTIFFS’ REQUEST NOT TO SEAL RECORDS
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  1                                  DECLARATION OF MIKE ALISSI
  2               I, Mike Alissi, declare as follows:
  3               1.     I am the VP for Operations of Reason Foundation and publisher of Reason
  4 Magazine, I have personal knowledge of the facts set forth herein, which are known by me
  5 to be true and correct, and if called as a witness, I could and would competently testify
  6 thereto.
  7               2.     Founded in 1968, Reason is the nation’s leading libertarian magazine. It
  8 produces and disseminates hard-hitting independent journalism on civil liberties, politics,
  9 technology, policy, culture, and economics. Reason distributes an average of
 10 approximately 50,000 copies of its magazine, which is published 11 times per year. It also
 11 operates a website, www.reason.com, which receives an average of approximately 4
 12 million visits per month.
 13               3.     Reason produces original videos that draw an average of approximately 4
 14 million views a month, as well as podcasts, live events, and more. Its staffers regularly
 15 appear on leading cable news and radio programs and our work is widely cited in the
 16 media. Its offices are located in Los Angeles and Washington, D.C.
 17               4.     Reason has published ten articles about the Government’s search and seizure
 18 at U.S. Private Vaults. These articles attracted over 630,000 page views at
 19 www.reason.com. Reason’s posts about the U.S. Private Vaults matter on Twitter,
 20 Facebook, and Instagram reached hundreds of thousands of additional people.
 21               5.     Reason intends to continue reporting on the Government’s seizure of
 22 property from customers of U.S. Private Vaults and asserts a First Amendment right to
 23 review and inform the public about the content of the warrant material, including without
 24 limitation, (a) the scope and strength of any evidence that the Government relied on to do
 25 what it did here, (b) whether the Government was forthright with the Magistrate about its
 26 intentions with respect to the customers’ property, and (c) whether the Government
 27 complied with any representations it made to the Magistrate about what it would or would
 28 not do with respect to customers’ property.

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      BRIEF OF AMICUS CURIE REASON FOUNDATION ISO PLAINTIFFS’ REQUEST NOT TO SEAL RECORDS
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  1               I declare under penalty of perjury under the laws of the United States of America
  2 that the foregoing is true and correct.
  3               Executed July 26, 2022 at Hamden, Connecticut,
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  6
  7                                                     Mike Alissi
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